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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION


SHAKIR AASIM VENSON,

                              Movant,

v.                                                   CIVIL ACTION NO. 3:05-0860
                                                     (Criminal No. 3:97-00073)
UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER


       This action was referred to the Honorable R. Clarke VanDervort, United States Magistrate

Judge, for submission to this Court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted Findings of Fact and

recommended that the Court dismiss Movant’s Motion for Modification of Sentence under 18 U.S.C.

§ 3582(c)(2) Pursuant to Amendment 668 filed on October 28, 2005 (Doc. #181) and remove this

matter from the Court’s docket. The movant has filed an objection to the Magistrate Judge’s

findings and recommendation.

       The Court, having reviewed, de novo, the pleadings and movant’s objection, ADOPTS the

Magistrates Judge’s Findings and Recommendation. Movant claims he is entitled to a sentence

reduction under 18 U.S.C. § 3582(c)(2) based on the Sentencing Commission’s adoption of

Amendment 668, relating to an automatic reduction of a base offense level under the Drug Quantity

Table for mitigating role adjustments. Movant’s request must be denied. First, he did not receive

a role adjustment so he cannot fall within Amendment 668. Second, this Amendment is not
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applicable retroactively, as noted by the Magistrate Judge. Furthermore, Movant does not benefit

from the Apprendi and Booker line of cases as they are inapplicable to § 3582(c)(2) motions.

Movant’s Motion for Modification of Sentence in DENIED and this case is ORDERED removed

from the Court’s docket.

       The Court DIRECTS the Clerk to send a copy of this written Opinion and Order to counsel

of record and any unrepresented parties.


                                            ENTER:         August 30, 2010




                                            ROBERT C. CHAMBERS
                                            UNITED STATES DISTRICT JUDGE




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